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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA,

            v.                                               Case No.
                                                             3:06cr120 (SRU)
 LUIS ROBLES, et al.

                              CONFERENCE MEMORANDUM

       On July 6, 2006, I held a status conference on the record with Gordon Hall and James

Smart, representing the government, and Robert Gerard Golger representing Luis Robles, Robert

A. Lacobell representing Raul Reyes, Frank J. Riccio and Frank J Riccio, II representing

Abraham Pabon, Michael Moscowitz representing Walter Harrison, Lawrence S. Hopkins

representing Wilfredo Martinez, Bruce D. Kofsky representing Ryan Persad, Donald J. Cretella,

representing Robindranath Persad, Stephen M. Goldenberg representing Carlos Baez, Alexander

H. Schwartz representing Zulma Matos, Todd Allen Bussert representing Jose Vargas, Francis L.

O’Reilly representing Ignacio Vasquez, Elliot R. Warren representing Benny Rivera, and Robert

M. Berke representing Isabel Pagan. The purpose of the conference was to discuss the status of

the case.

       A.        Discovery

       Attorneys Hall and Smart described the status of discovery. Significant discovery has

been produced to defense counsel. The government is currently preparing additional materials

and plan to disclose those materials to defense counsel as soon as they are completed. Hall

estimated that those materials would be ready within the next.

       B.        Timeline and Speedy Trial Act

       I also discussed the potential timeline of the case. Attorney Hall estimated that a trial for
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two or three defendants would last approximately ten days. However, that estimate would

increase if more defendants are involved in the trial. I set trial to begin on November 6, 2006

with jury selection on November 3, 2006. The proposed timeline would normally require

waivers under the Speedy Trial Act, however, no party objected to a proposed order that would

declare this case unusual and complex and exclude time from the Speedy Trial Act calculation.

Finally, I set September 1, 2006 as the motion deadline. The government will then have twenty-

one days to respond to any defense motion.

       C.      Motions

       I also discussed pending motions with all parties. I granted the following motions: Isabel

Pagan’s Motion for Interim Payment (doc. #217); Carlos Baez’ Motion to Seal (doc. #116); and,

in light of the newly confirmed timeline, Abraham Pabon’s Motion to Continue Jury Selection

(doc # 218). I denied as moot all Motions for Waiver of Ten-Day Service. I also denied without

prejudice substantially all other motions in light of the government’s indication that discovery

would be forthcoming. Additionally, I denied without prejudice Zulma Matos’ Motion to

Suppress Statements. At least one defendant intends to file a Motion to Suppress that may

require an evidentiary hearing.

       D.      Printing Costs

       Attorney Kofsky raised the issue of printing costs. In an effort to proceed in the most

cost-effective manner, I proposed that the defendants who have not printed the discovery

materials from the government disks should copy other defendants’ materials to avoid

duplicative expenses.

       Finally, five defendants will require interpreters for any proceedings.


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Dated at Bridgeport, Connecticut, this 7th day of July 2006.


                                                  /s/ Stefan R. Underhill
                                                      Stefan R. Underhill
                                                      United States District Judge




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